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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                               No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.




                                     [PROPOSED] ORDER

       Upon consideration of the Defendant’s Motion to Compel Production of Investigating

Agent Devon Beckett’s Contact Information, it is hereby

       ORDERED, that the Government produce Devon Beckett’s phone number, email

address, and home address to the Defense by February ____, 2024, for purposes of the Defense

issuing a subpoena ad testificandum for Ms. Becketts testimony at Mr. Sterlingov’s February 12,

2024, trial in the United States District Court for the District of Columbia.


Dated this _____ day of February 2024.


                                              __________________________________
                                              HON. RANDOLPH D. MOSS
                                              UNITED STATES DISTRICT JUDGE
